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                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF OHIO
                               WESTERN DIVISION

IN RE DR. DURRANI                                       Judge Timothy S. Black
MEDICAL MALPRACTICE CASES

Case Nos.: 1:16-cv-004 (lead), 1:16-cv-005, 1:16-cv-007, 1:16-cv-008, 1:16-cv-009,
1:16-cv-010, 1:16-cv-011, 1:16-cv-012, 1:16-cv-013, 1:16-cv-014, 1:16-cv-015,
1:16-cv-016, 1:16-cv-017, 1:16-cv-018, 1:16-cv-019, 1:16-cv-020, 1:16-cv-021,
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1:16-cv-225, 1:16-cv-226, 1:16-cv-227, 1:16-cv-228, 1:16-cv-229, 1:16-cv-230,
1:16-cv-231, 1:16-cv-261, 1:16-cv-262, 1:16-cv-263, 1:16-cv-264, 1:16-cv-282,
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                   ORDER REMANDING THESE CIVIL ACTIONS 1

         The Court previously entered an Order finding that it lacked jurisdiction over the

227 consolidated civil actions at issue and accordingly ordered that the cases be

remanded to the state courts from which they were removed. (Doc. 15). However,

enforcement of that Order was stayed pending the outcome of any accepted appeal by the

Court of Appeals for the Sixth Circuit, and the Clerk was ordered not to begin

effectuating remand until this Court entered a separate Order. (Id. at 15).

         On July 27, 2016, the Sixth Circuit Court of Appeals issued an Order denying

Defendants’ appeal of the Court’s remand Order. (Doc. 76). The Sixth Circuit issued the

mandate for this denial on September 28, 2016. (Doc. 78). As the mandate has been

issued, it is now appropriate to implement this Court’s previous remand Order.

         Accordingly, for these reasons: (1) All of the cases listed in the caption above are

REMANDED to the state court from which they were removed; (2) the Clerk shall enter

Judgment accordingly; and (3) these cases are TERMINATED from the docket of this

Court.


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  Not all of these civil actions are subject to motions to remand. Nonetheless, all were removed
pursuant to the mass action provision of the Class Action Fairness Act (“CAFA”), 28 U.S.C.
§ 1332(d)(11). For the reasons set forth in the Court’s original remand Order (Doc. 15), the
Court finds that it does not have jurisdiction pursuant to that provision. Accordingly, the Court
must remand all of these civil actions, regardless of whether motions to remand were filed. See
Thornton v. Southwest Detroit Hosp., 895 F.2d 1131, 1133 (6th Cir.1990) (citation omitted) (the
issue of “subject matter jurisdiction may be raised sua sponte at any juncture because a federal
court lacks authority to hear a case without subject matter jurisdiction.”); see also Probus v.
Charter Communications, LLC, 234 Fed. App’x 404, 406 (6th Cir. 2007) (“Despite [the
defendant’s] failure to move to remand, the district court should have sua sponte addressed the
issue of subject matter jurisdiction.”); Fed. R. Civ. P. 12(h)(3) (“If the Court determines at any
time that it lacks subject-matter jurisdiction, the court must dismiss the action”).
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      IT IS SO ORDERED.


Date: 9/28/16                                    s/Timothy S. Black
                                                 Timothy S. Black
                                                 United States District Judge
